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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

DAVID HAVERKAMP,                                        §
TDCJ NO. 00702013,                                      §
     Plaintiff,                                         §
                                                        §            Civil Action No. 2:17-CV-00018
v.                                                      §
                                                        §            Jury Demand
JOSEPH PENN, et al.,                                    §
     Defendants,                                        §

                                     DEFENDANTS’ JOINT ADVISORY

           Defendants Dr. Robert Greenberg, Preston Johnson, Jr., John Burruss, Erin Wyrick, Jeffrey

Beeson, Dee Budgewater, Dr. Cynthia Jumper, F. Parker Hudson, Dr. Lannette Linthicum, jointly

with Dr. Philip Keiser, file this advisory following the issuance of the Court’s show cause order.

Dkt. No. 222.

                                                 Background

           Haverkamp has brought suit against members of the Correctional Managed Health Care

Committee (“CMHCC”) under 42 U.S.C. § 1983 and the Equal Protection Clause claiming he is

entitled to injunctive relief in the form of sexual reassignment surgery. Dkt. No. 62. On June 13,

2019, Defendants Linthicum, Murray, 1 Jumper, Hudson, Penn, 2 Mills 3 and Raimer 4 filed their

Motion to Dismiss raising, among other arguments, the defense of sovereign immunity. Dkt. No.

90. This Court denied Defendants’ Motion on April 2, 2020. Dkt. No. 123. On May 4, 2020,




1
  Dr. Owen Murray has since been dismissed from this suit. Dkt. No. 128
2
  Dr. Joseph Penn (UTMB) has since been dismissed from this suit. Dkt. No. 154.
3
  Mills has since been replaced in this suit by Jeffrey Beeson. Dkt. No. 128.
4
  Raimer has since been replaced in this suit by Philip Keiser. Dkt. No. 128.


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Defendants Dr. Linthicum, Dr. Jumper, Dr. Hudson and Dr. Keiser filed their notice of appeal on

the basis of being denied sovereign immunity. Dkt. No. 144.

           Thereafter, CMHCC Defendants Dr. Greenberg, Johnson, Wyrick, Dr. Beeson and

Budgewater filed a motion to dismiss on the basis of Article III standing and sovereign immunity.

Dkt. No. 158. This Court also denied these defendants sovereign immunity on September 23, 2020.

Dkt. No. 212. The Court ordered all defendants to answer Haverkamp’s complaint on October 7,

2020. Dkt. No. 214. However, on October 8, 2020, the only CMHCC Defendants remaining in the

district court filed a notice of appeal of their denial of sovereign immunity. Dkt. No. 216.

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           Denials of motions to dismiss on sovereign immunity grounds fall within the collateral

order doctrine, and are thus immediately appealable. McCarthy ex rel. Travis v. Hawkins, 381 F.3d

407, 411–12 (5th Cir.2004) (citing Puerto Rico Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506

U.S. 139, 144-45 (1993)). “Because sovereign immunity protects states from suit, Puerto Rico

Aqueduct, 506 U.S. at 144–45, orders denying dismissal on the basis of sovereign immunity are

immediately appealable regardless of the district court's reasons for its decision.” Tex. v.

Caremark, Inc., 584 F.3d 655, 658 (5th Cir. 2009).

           “The filing of a notice of appeal is an event of jurisdictional significance—it confers

jurisdiction on the court of appeals and divests the district court of its control over those aspects

of the case involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58, 103 S.

Ct. 400 (1982) (emphasis added) (citing United States v. Hitchmon, 587 F.2d 1357, 1359 (5th Cir.

1979)); see also Showtime/The Movie Channel, Inc. v. Covered Bridge Condo. Ass'n, Inc., 895 F.2d 711,

713 (1990). Indeed, when the notice of appeal is timely filed, the appeal is perfected and deemed




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pending before the court of appeals. See Fed. R. App. P. 3(a)(1) (requiring the filing of

a notice of appeal alone for an appeal to be “taken” to the appellate court); Hitchmon, 587 F.2d at

1359; United States v. Clark, 917 F.2d 177, 179 (5th Cir. 1990). The district court retains only the

power, in limited circumstances, to act in aid of the appeal. See Covered Bridge, 895 F.2d at

713 (stating that the court may correct clerical errors or aid in the execution of a judgment as a

means of acting “in aid of the appeal”).

           Defendants have not answered Haverkamp’s complaint because the filing of the Notice of

Appeal on behalf of the CMHCC divested this Court of jurisdiction over the balance of this case

pending resolution in the Fifth Circuit. With that filing, all of the Defendants have now appealed.

           Tex. v. Caremark, Inc., 584 F.3d 655 (5th Cir. 2009) is instructive. There, the Fifth Circuit

made clear that it maintains exclusive jurisdiction over a suit where sovereign immunity is at issue.

For this Court to simultaneously exercise jurisdiction would be to defy “the very object and

purpose of sovereign immunity . . . to protect the state from the ‘coercive process of judicial

tribunals at the instance of private parties.’” Id. at 658. Thus, according to the Court, if this Court

were to continue to exercise jurisdiction over suit as appeal was pending, “the value of sovereign

immunity [would be] ‘for the most part lost as litigation proceeds past motion practice[.]’” Id.

“[T]he sovereign immunity question must be decided before further litigation proceeds;

otherwise, the object and purpose of sovereign immunity—to shield the states from the burden of

suits to which they have not consented—is violated.” Id. (citing Fed. Mar. Comm'n v. S.C. State

Ports Auth., 535 U.S. 743, 760 (2002)) 5.




5
 That rationale is particularly evident here, where Plaintiff’s 31-page Amended Complaint asserts 13 different “Legal
Claims” against 10 separate Defendants in over 125 unnumbered paragraphs. Dkt. No. 62.


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           Defendants’ appeal presents a critically important question that has not been resolved by

the Fifth Circuit: whether, and if so to what extent, Ex parte Young’s exception to sovereign

immunity permits an Equal Protection Clause lawsuit for the denial of sexual reassignment surgery

– already found permissible under the Eighth Amendment - against members of a non-jural entity

that participate in the formulation of medical policy. As this Court denied Defendants sovereign

immunity on this basis, this Court is divested of jurisdiction over this suit until the appeal is

resolved. Requiring Defendants to proceed in the lititgation at the district court while appeal is

pending would effectively deprive them of their sovereign immunity defense.

           Finally, the timing of the Court’s order to answer in relation to the remaining CMHCC

defendants filing of their notice of appeal does not affect the question of where jurisdiction lies.

Wooten v. Roach, 964 F.3d 395, 403 (5th Cir. 2020). “[A]n appeal of a judgment determining the

entire action divests the district court of jurisdiction, while that appeal is pending, over any further

matters for that action, ‘except in aid of the appeal or to correct clerical errors.’” United States v.

Pena, 713 Fed. Appx. 271, 272–73 (5th Cir. 2017) (quoting Nicol v. Gulf Fleet Supply Vessels, Inc.,

743 F.2d 298, 299 (5th Cir. 1984). Thus, the inquiry is not when a court’s order issued relative to

an appeal but what aspects of the case have been brought up on appeal. Where, as here, all aspects

of the case are on appeal, this Court lacks jurisdiction to issue orders against or accept filings of the

Defendants. Wooten, 964 F.3d at 403.

           Respectfully, Defendants believe that the controlling authority vests jurisdiction solely with

the Fifth Circuit while an appeal of sovereign immunity is pending. Should this Court’s reading of

the authority deviate from Defendants, Defendants will act promptly upon any future orders

issued.




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      Dated: December 4, 2020.

                                    Respectfully Submitted.

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                                 NOTICE OF ELECTRONIC FILING

           I, COURTNEY CORBELLO, Assistant Attorney General of Texas, do hereby certify that I

have electronically submitted for filing, a true and correct copy of the above and foregoing in

accordance with the Electronic Case Files System of the Southern District of Texas, on December

4, 2020.

                                             /s/ Courtney Corbello
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                                    CERTIFICATE OF SERVICE

           I, COURTNEY CORBELLO, Assistant Attorney General of Texas, do hereby certify that a

true and correct copy of the above and forgoing has been served via U.S.P.S., postage prepaid,

certified mail, return receipt requested, on December 4, 2020 addressed to:

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